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 6 Attorneys for Plaintiff
   United States of America
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 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-MJ-00089 CKD

12                                     Plaintiff,        STIPULATION AND [PROPOSED] PROTECTIVE
                                                         ORDER
13                             v.

14   AMY HER,

15                                     Defendant.

16

17          WHEREAS, the parties desire to prevent the unauthorized disclosure or dissemination of certain
18 sensitive but unclassified discovery materials to anyone not a party to the court proceedings in this

19 matter, or to defendant AMY HER in this case as provided below;

20          WHEREAS, the sensitive but unclassified discovery materials at issue include information
21 pertaining to victims or potential victims in this case, including personal identifying information and

22 what the government has represented are access device numbers such as bank account numbers, credit

23 card numbers, etc.;

24          WHEREAS, the parties agree that entry of a stipulated protective order is appropriate, and that a
25 private agreement is not appropriate in light of the nature of the information at issue and the charges in

26 this case; and

27          WHEREAS, the defendant has counsel (“Defense Counsel”) who wishes to have the opportunity
28 to review the discovery;

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 1          Defendant AMY HER and plaintiff United States of America, by and through their counsel of

 2 record, hereby agree and stipulate as follows:

 3          1.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 4 Criminal Procedure, its general supervisory authority, and Local Rule 141.1.

 5          2.       This Order pertains to all discovery provided to or made available to Defense Counsel

 6 that is identified as sensitive and subject to a protective order in this case (hereafter, collectively known

 7 as “protected discovery”).

 8          3.       Defense Counsel shall not disclose any of the protected discovery to any person other

 9 than their respective client, or attorneys, law clerks, paralegals, secretaries, experts, and investigators,

10 involved in the representation of their respective client. However, at no time shall defendant be

11 permitted to review the protected discovery outside of the presence of Defense Counsel or Defense

12 Counsel’s partners, associates, or employees as designated by Defense Counsel, and Defense Counsel or

13 his/her designee shall not leave any of the protected discovery with defendant at any location.

14          4.       The protected discovery and information therein may only be used in connection with the

15 litigation of this case and for no other purpose. The protected discovery is now and will forever remain

16 the property of the United States Government. Defense Counsel will return the discovery to the

17 Government or certify that it has been shredded at the conclusion of the case, to include any appeal,

18 and/or collateral attack.

19          5.       Defense Counsel will store the discovery in a secure place, such as Defense Counsel’s

20 private office, and will use reasonable care to ensure that it is not disclosed to third persons or their

21 respective client in violation of this agreement.

22          6.       If Defense Counsel releases custody of any of the discovery, or authorized copies thereof,

23 to any person described in paragraph (3), Defense Counsel shall provide such recipients with copies of

24 this Order and advise that person that the protected discovery is the property of the United States

25 Government, that the protected discovery and information therein may only be used in connection with

26 the litigation of this case and for no other purpose, and that an unauthorized use of the protected

27 discovery may constitute a violation of law and/or contempt of court.

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 1          7.       In the event that defendant obtains substitute counsel, undersigned Defense Counsel

 2 agrees not to disclose any protected discovery to successor counsel absent a court order that a) Defense

 3 Counsel be relieved, b) successor counsel be appointed, and c) all discovery be turned over to successor

 4 counsel.

 5          8.       Defense Counsel shall be responsible for advising their client, employees, and other

 6 members of the defense team of the contents of this Stipulation/Order.

 7          IT IS SO STIPULATED.

 8 Dated: May 14, 2015                                    Respectfully submitted,

 9
                                                          BENJAMIN B. WAGNER
10                                                        United States Attorney

11                                                 By:    /s/ Matthew M. Yelovich
                                                          MATTHEW M. YELOVICH
12                                                        Assistant U.S. Attorney

13

14                                                 By:    /s/ Dustin D. Johnson_______
                                                          DUSTIN D. JOHNSON
15                                                        Counsel for AMY HER

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17                                                   ORDER

18          IT IS SO FOUND AND ORDERED.

19 DATED: May 14, 2015.

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     Stipulation & [Proposed] Protective Order           3
